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   A jury found that Bill Cosby sexually abused a 16-year-old girl in 1975.



   Sidney Powell Has Secretly Been Funding The Legal Defense
   Of The Oath Keepers
   Defending the Republic, the nonprofit Powell founded after the 2020 election, has raised at least $15 million
   but has been quiet about where that money is going.

   By
   Ken Bensinger
   Posted on March 9, 2022, 4:19 pm
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   As the government’s prosecutions of members of the Oath Keepers — by most measures, the most
   significant of any to come out of the Jan. 6 insurrection — move toward trial, defense lawyers face a
   daunting task: overcoming more than 2 terabytes of evidence arrayed against their clients, including
   countless hours of video footage from within the Capitol itself.

   Some of those lawyers, it appears, are getting outside help.

   A nonprofit founded by Sidney Powell — the former attorney for president Donald Trump who has
   repeatedly attempted to reverse the results of the 2020 election — has been covering the full legal
   expenses of at least one and potentially multiple defendants in the high-profile case, BuzzFeed News has
   learned.

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   Since October, the organization, Defending the Republic, has been making monthly payments to the
   defense attorney for Kelly Meggs, a member of the militant group the Oath Keepers who is charged with
   seditious conspiracy for his role in the Jan. 6 Capitol riot. In an interview, the attorney, Jonathon
   Moseley, said he was aware of “at least three or four other defendants who have that arrangement” as
   well. The Oath Keepers’ general counsel, Kellye SoRelle, said that one of those others is the group’s
   founder, Stewart Rhodes. Offered the chance to deny that, his lawyers said they don’t discuss funding.

   The revelation, which has not been previously reported, sheds new light on the activities of Powell’s
   organization, which was incorporated in December 2020 “to defend the constitutional rights of all
   Americans.” By last August, the group had raised nearly $15 million, according to its audited financial
   statements, and since then has raked in untold cash in donations and sales of merchandise, including T-
   shirts, drink coasters, and highball glasses adorned with the organization’s logo. Yet despite mounting
   legal scrutiny from federal and state investigators, Defending the Republic has disclosed almost nothing
   about where that money has been going.

   Third-party support of litigation is by no means prohibited. Venture capitalist Peter Thiel famously
   bankrolled the privacy suit by pro wrestler Hulk Hogan that bankrupted Gawker, and today there are
   investment funds dedicated solely to financing lawsuits in exchange for a share of settlements or
   verdicts.




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   The tactic is less common in the criminal arena, however, and when used tends to take on a far more
   politicized tint. Among the donors to the $2 million fund Kyle Rittenhouse used to successfully defend
   himself against murder charges last year, for example, were gun rights groups, conservative actor Ricky
   Schroder, and the CEO of My Pillow, Mike Lindell — the Trump confidant known for promulgating wild
   conspiracy theories.

   Powell’s involvement in the Oath Keepers case helps explain how some of the defendants, most of whom
   are far from wealthy, have been able to work with private attorneys who charge hundreds of dollars an
   hour rather than court-appointed lawyers. But it also raises questions as to who is dictating their
   defense strategy. In recent months, defense attorneys have raised many of the same far-flung
   conspiracies about COVID-19, antifa, and the deep state that appeared in lawsuits against the federal
   government filed by Powell herself.

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   Such tactics have raised eyebrows among some attorneys representing members of the Oath Keepers
   who are not receiving outside funding. They question whether the unorthodox legal filings are hurting,
   rather than helping, their case. The filings have also brought rebukes from the federal judge overseeing
   the case and, in the case of Moseley, a threat of sanction. “Counsel for Mr. Meggs is admonished to keep
   the moralizing and sermonizing out of his motions,” Judge Amit Mehta wrote in late January. “These
   proceedings will not become a platform for counsel’s personal political views.”

   Powell, a former federal prosecutor who rose to prominence in the wake of the 2020 election thanks to
   her promise to “release the kraken” by exposing what she described as rampant voter fraud that cost
   Trump the White House, did not respond to calls or emails seeking comment.

   Her attorney, Howard Kleinhendler, and Brandon Johnson, a lawyer who has worked with Defending the
   Republic, also did not respond to queries. A third lawyer who has worked with Powell, Travis Miller, said
   in a phone call that he has not “done any representation for the Jan. 6 defendants” and that he was
   unsure what Defending the Republic’s activities were.

   Powell founded Defending the Republic in Texas on Dec. 1, 2020, and four days later added former
   national security adviser Michael Flynn and his brother as directors. But according to regulators in
   Florida, the organization had been soliciting donations in that state since November 2020 without

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   registering as a charity, which is against the law. In an August settlement with Florida’s Division of
   Consumer Services, Defending the Republic paid a $10,000 fine, properly registered in the state, and
   agreed to provide audited financial statements to regulators.

   Those records show that Powell has had extraordinary success raising money from her repeated claims
   that the election was rigged. Between Dec. 1, 2020, and July 31, 2021, Defending the Republic raised $14.9
   million, the financial disclosures show, and note that in that time period the group spent $2.3 million on
   “legal and litigation support” and an additional $2 million on advocacy. The records don’t account for
   fundraising efforts in November 2020 or since Aug. 1 of last year, including money Powell has raised
   selling $95 hooded sweatshirts emblazoned with the phrase “Protect America.” Other than a $550,000
   contribution to a group that audited Arizona’s election results last year, there is no specific record of
   where Defending the Republic’s money has flowed.

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   A defamation lawsuit filed by Dominion Voting Systems — which Powell falsely accused of handing the
   election to Joe Biden — alleged that she treated Defending the Republic’s “funds as her personal funds,
   redirecting them to the law firm she controls and dominates” and used them to cover her own legal
   defense. The group’s Florida registration form, meanwhile, states that Powell receives compensation but
   doesn’t note how much.

   And although the group claims on its website to be a 501(c)(4) organization, Internal Revenue Service
   records show no tax-exempt entities registered under Defending the Republic's name or taxpayer ID
   number.

   In September, prosecutors from the Justice Department sent Defending the Republic a subpoena,
   requesting fundraising and accounting records, according to the Washington Post, and subsequent
   reports found that prosecutors are investigating whether the group filed false incorporation papers in
   Texas. In December, the organization reached a consent order with regulators in Mississippi for failing
   to register to solicit donations in that state, as reported by Miami broadcaster and columnist Grant
   Stern. And in January, the select congressional committee investigating the Capitol riot subpoenaed
   Powell, seeking records as well as her testimony. Last month, Powell sued Verizon in an attempt to block
   it from releasing her cellphone data to the committee.


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   Kelly Meggs at the US Supreme Court on Jan. 5, 2021
   Department of Justice



   Meggs, one of 26 members and associates of the Oath Keepers who have been charged in cases stemming
   from the Capitol riot, has had fundraising success of his own.

   Prosecutors accuse Meggs, the self-described president of the Oath Keepers’ Florida chapter, of stashing
   weapons in a hotel in Virginia in advance of Jan. 6, joining a military-style “stack” formation to push into
   the Capitol, and searching the Capitol for House Speaker Nancy Pelosi’s office, allegedly in hopes of
   seeing “Nancy’s head rolling down the front steps.”

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   Weeks after Meggs was arrested in February of last year, a campaign was launched on crowdfunding
   platform GiveSendGo benefitting him and his wife, Connie, who is also being prosecuted for entering
   the Capitol on Jan. 6, although she has not been charged with seditious conspiracy. To date, the couple
   has brought in nearly 3,000 donations, totaling $152,000.

   But data from the site show that nearly all of that money was raised prior to September, and, according
   to Moseley, those funds were all but used up paying Meggs’ prior lawyer, David Wilson, whom he fired in
   late October. Wilson, reached by phone, declined to comment on the case.

   Moseley, a Virginia-based attorney who describes himself on his Twitter profile as a “political activist,”
   said he was first approached about the possibility of funding from Defending the Republic in September,
   through an intermediary whom he declined to name. “When I found out Meggs needed a change of
   attorneys, I learned simultaneously that there was this option,” he said.

   Moseley also represents Christopher Price, accused of entering the Capitol on Jan. 6, and previously was
   the lawyer for Zach Rehl, the head of the Philadelphia chapter of the Proud Boys, who prosecutors said
   was one of the people who led the group into the building and is being prosecuted along with the group's
   leader, Enrique Tarrio.

   In early December, Moseley wrote in a court filing that Defending the Republic had agreed to cover
   Rehl’s “legal fees and expenses through trial,” noting that it would “not be a supplement toward legal
   bills, but the complete satisfaction of future legal bills leaving no balance owed, even under the
   extremely, shockingly discounted ‘low bono’ rates being charged.” Days later, however, Moseley
   withdrew from the case, and Rehl is now represented by a court-appointed attorney.

   According to Moseley, Defending the Republic pays him an hourly rate with a monthly cap, (He declined
   to specify any figures but said the rate was "ok" and added that it was on par with what court-appointed
   lawyers are paid.) He said the organization requires attorneys to apply for funding, a process that
   includes submitting a biography of the defendant, among other things.

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   He also said that Defending the Republic doesn’t tell him how to argue his case. “They've made it clear
   it's up to me to decide the things that need to be decided,” Moseley said. “Defending the Republic is
   really doing some useful things with the money they have raised.”

   BuzzFeed News reached out to every attorney in the Oath Keepers cases, more than two dozen in all,
   seeking comment. Many of them are public defenders and work on government salaries, or are
   appointed attorneys compensated directly by the court.

   Among those private attorneys who were retained by defendants, four denied being compensated by
   Defending the Republic. Scott Weinberg, for example, noted that his client, David Moerschel, had raised
   $2,445 through crowdfunding, adding that he was unaware of any third-party organizations offering
   defendants money for their defense. He said that “everybody deserves their legal defense to be funded
   regardless of their political ideology.”

   Chris Leibig, who represents Joshua James, also said he had received no funding from Defending the
   Republic. James, an Army veteran who owns a power-washing business in rural Alabama, was part of a
   detail of members of the Oath Keepers who provided security to VIPs including Roger Stone on Jan. 5
   and 6 and then joined others in the group who pushed into the Capitol.

   His story illustrates the financial challenges many Capitol riot defendants face. Following his arrest in
   February 2021, James was barred by the court from working for nearly six months, and in the meantime,
   his wife, Audrey, set up a GiveSendGo fundraiser.

   Boosted by a strong social media presence and mentions on several conservative internet forums and
   podcasts, the effort eventually brought in nearly $200,000. But by September, Audrey James was posting
   that the money wouldn’t be enough if the case went to trial. “When this all started,” she wrote, “I had NO
   idea what the legal fees would cost because we have never needed an attorney.”

   Then, in early February, she wrote that she would “send the last of the funds to the attorneys this week,”
   adding that Facebook had prevented her from sharing the fundraiser. “We still need donations at this
   time.” Last Wednesday, James entered a guilty plea and agreed to cooperate with the government,
   becoming the first person convicted of seditious conspiracy in the country since 1995.

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   A number of other lawyers declined to comment or did not respond to multiple requests for comment,
   including Virginia attorney Juli Haller. Her client, Connie Meggs, is the wife of Kelly Meggs, the member
   of the Oath Keepers who is represented by Moseley.

   Haller, who served in various positions in the State Department, the Department of Housing and Urban
   Development, and the Department of Homeland Security during the Trump administration, represents
   two additional Jan. 6 defendants who are not members of the Oath Keepers. She also has close ties to
   Powell, having filed several election-related lawsuits in concert with her, including challenges to the
   voting results in several states. In August, a federal judge in Michigan sanctioned Haller, Powell, and
   seven other attorneys for suing “in bad faith and for improper purpose,” ordering them to repay the
   court’s costs and referring them to their respective state bar associations for potential disbarment. On
   Wednesday, it was revealed that the State Bar of Texas sued Powell on March 1 for professional
   misconduct.

   Haller’s brother, Peter Haller, a lawyer and former Goldman Sachs executive, congressional aide, and
   lobbyist, is listed as a director of Defending the Republic in registration documents the group filed in
   Florida last summer, which state he is “in charge of solicitation” and “in charge of distribution.” He
   declined to comment except to clarify that he was longer with Defending the Republic, was never a
   director, and was briefly the group’s general counsel.

   Jonathan Crisp, a Pennsylvania attorney, also did not respond to requests for comment. His client, Jessica
   Watkins, was long represented by a public defender, appointed by the court for people who cannot
   afford their own lawyer. But in late January, Watkins — who has been in jail for over a year and appears
   to have no source of income other than a crowdfunding campaign that has raised $25,000 to date — fired
   that lawyer and retained Crisp. Watkins’s boyfriend, Montana Siniff, also did not respond to a request
   for comment.




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   Stewart Rhodes speaks during a rally outside the White House on June 25, 2017.
   Susan Walsh / AP Images



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   The most prominent defendant in the Oath Keepers cases is Stewart Rhodes, the former Army
   paratrooper who founded the group in 2009 and is charged with seditious conspiracy for allegedly
   orchestrating a plan to “stop the lawful transfer of presidential power” and who, according to Joshua
   James’ guilty plea, was prepared for a violent confrontation with the federal government “in the event of
   a civil war” in the weeks after Jan. 6.

   At the time of his arrest on Jan. 13, Rhodes happened to be on the phone with Moseley, who represents
   him in a civil suit and will do so when he testifies before the congressional committee investigating Jan.
   6, as he has been called to do. When the FBI asked Rhodes to surrender, Moseley recalled offering to help
   him find representation.

   SoRelle, a Granbury, Texas, attorney who is the Oath Keepers’ general counsel, said she spent that day
   scrambling to find Rhodes a criminal defense lawyer and trying to figure out where he was being held
   before his arraignment. She was surprised, she said, to receive a phone call the next morning from a
   lawyer saying he was visiting Rhodes in jail and had been sent by Sidney Powell.

   “I couldn’t even find Stewart; he’d disappeared,” SoRelle said. “But this guy said he was now representing
   him.” Court records show that Dallas criminal defense attorney James Lee Bright filed an appearance in
   federal court on Jan. 14, noting that he had been “retained to represent Mr. Rhodes.”

   Reached by phone, Bright and his cocounsel on the Rhodes case, Phillip A. Linder, said they were
   contacted by a third party about the opportunity to represent Rhodes, but declined to say who that
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   person was or who was paying their bills. They noted they already represented two other Jan. 6
   defendants, Texas couple Mark and Jalise Middleton, and that on the day Rhodes was arrested,
   "somebody called me," Bright said. He declined to name that person.

   Rhodes, who lost his bid for bond, is in detention until trial, currently scheduled to begin July 11. In a
   brief interview he gave from jail last week, he called the case a “show trial.”

   Bright bristled at questions about who was paying for Rhodes’ defense, saying it was “of no consequence
   to the case.” But he added that “there are people out there who think these individuals need the best
   representation.”


               Ken Bensinger is an investigative reporter for BuzzFeed News and is based in Los Angeles. He is the author of "Red Card," on the FIFA scandal. His
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          michelleb4de332627
          3 months ago

          Sydney needs her own go fund me.
               4


          jatarri
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          It's so fun reading about these traitors getting what's coming to them. *makes popcorn*
               3


          tomhughes
          3 months ago

          How is anyone surprised after rioters were bailed out and given cover by Democrats in 2020?. It was inevitable that
          the same tactics would be used by Republicans.

          Hold rioters on the left and the right accountable.


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